     Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 1 of 13



                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

NEXTERA ENERGY CAPITAL                          §
HOLDINGS, INC., et al.,                         §
    Plaintiffs,                                 §
                                                §
v.                                              §           NO. 1:19-cv-00626-LY
                                                §
DEANN T. WALKER, Chairman of the                §
Public Utility Commission of Texas, et al.,     §
      Defendants.                               §


     TEXAS’S RESPONSE TO STATEMENT OF INTEREST OF THE UNITED STATES



KEN PAXTON                                    JOHN R. HULME
Attorney General of Texas                     Texas Bar No. 10258400
                                              Assistant Attorney General
JEFFREY C. MATEER                             john.hulme@oag.texas.gov
First Assistant Attorney General
                                              H. CARL MYERS
DARREN L. MCCARTY                             Texas Bar No. 24046502
Deputy Attorney General for Civil             Assistant Attorney General
Litigation                                    carl.myers@oag.texas.gov

PRISCILLA HUBENAK                             JESSICA SOOS
Chief for Environmental Protection            Texas Bar No. 24093183
Division                                      Assistant Attorney General
                                              jessica.soos@oag.texas.gov

                                              Office of the Attorney General
                                              Environmental Protection Division
November 12, 2019                             P.O. Box 12548, Capitol Station
                                              Austin, Texas 78711-2548
                                              (512) 475-4229 | FAX: (512) 320-0911

                                              COUNSEL FOR DEFENDANTS
        Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 2 of 13



   The State Official Defendants (“Texas”) file this response to the Statement of Interest

filed by the Antitrust Division of the United States Department of Justice (“Statement”).

   I.       Introduction and summary

   Much of the Statement essentially argues that Texas should adopt the competitive process

for transmission development under Federal Energy Regulatory Commission (“FERC”)

Order 1000, a particular policy option that the Antitrust Division favors. But as explained in

Texas’s Motion, ECF No. 94 (“Motion”), and supporting reply brief, ECF No. 111 (“Reply”),

the challenged legislation (SB 1938) simply codified Texas’s longstanding practice of having

existing regulated-utility providers (transmission-and-distribution utilities and, outside the

ERCOT grid, vertically integrated utilities that generate, sell and deliver electricity to

consumers) build out the transmission grid and provide transmission service in the state. SB

1938 does not facially discriminate against out-of-state entities and is not a change from the

status quo. The dormant Commerce Clause poses no bar to Texas’s regulatory approach to

ensuring the reliable delivery of electricity to Texas consumers, exercised pursuant to its

undisputed authority over transmission facilities under the Federal Power Act. The United

States Constitution allows states to eliminate competition entirely here.

   II.      FERC Order 1000 does not mandate a competitive process for the
            development of transmission lines in Texas.

   The Statement, in its promotion of the Order 1000 process, glosses over a number of

important circumstances.

   First, as a threshold matter, Order 1000 is irrelevant to most of Texas’s electric market.

The Electric Reliability Council of Texas (“ERCOT’) grid, serving 90% of Texas’s electric

customers by load, is not generally interconnected with the interstate grids covering the rest

of the country that is subject to FERC regulation. Thus, FERC Order 1000 (and the process

under it) has no application here. Motion at 3. As Texas has explained, the longstanding
                                                                                            1
        Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 3 of 13



process in ERCOT, reflected in its operating rules, is that endpoint owners (primarily

transmission-and-distribution utilities) build the new lines that are needed. Motion at 12.

      Second, FERC acknowledged state right-of-first-refusal statutes in adopting Order 1000.

And to the extent Order 1000 has any relevance outside ERCOT, transmission service is

provided by vertically integrated utilities with significant regulatory obligations to serve end

customers. As explained below, this is exactly the type of regulated entity involved in General

Motors v. Tracy 1, a case in which the United States Supreme Court affirmed the dismissal of a

dormant Commerce Clause claim based on differential tax treatment of regulated gas utilities.

      Notably, the Statement was filed by the United States Department of Justice, not by

FERC—the federal agency charged with overseeing the interstate electric markets that has

significant expertise and practical experience with the construction of new transmission

facilities outside of Texas. And, indeed, as the Motion explained (and the Statement tellingly

admits), in eliminating some federal rights of first refusal FERC expressly acknowledged state

right-of-first-refusal statutes such as SB 1938. See S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41,

76 (D.C. Cir. 2014) (FERC “t[ook] great pains to avoid intrusion on the traditional role of the

States” as to the siting and construction of transmission facilities.) The federal agency has

stated that Order 1000 was not “intended to limit, preempt, or otherwise affect state or local

laws” and has even rejected a challenge to a system operator’s decision to recognize state-

enacted rights of first refusal. Transmission Planning and Cost Allocation by Transmission Owning and

Operating Public Utilities, Order No. 1000, 136 FERC ¶ 61,051 (2011), order on reh’g, Order No.

1000-A, 139 FERC ¶ 61,132 (2012), order on reh’g, Order No. 1000-B, 141 FERC ¶ 61,044

(2012) (Order 1000); Midwest Indep. Transmission Sys. Operator, Inc., 150 FERC ¶ 61,037 (2015).




1
    Gen. Motors Corp. v. Tracy, 519 U.S. 278 (1997).
                                                                                                   2
      Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 4 of 13



Thus, FERC has approved the incorporation of state rights of first refusal into system-

operator tariffs, a decision that was upheld by the Seventh Circuit. MISO Transmission Owners

v. FERC, 819 F.3d 329, 336 (7th Cir. 2016). FERC also has approved multiple tariffs with

expansive exemptions to Order 1000 where it might have required a competitive process,

effectively continuing federal rights of first refusal for many transmission projects. 2 Given

multiple opportunities to oppose state rights of first refusal, or to require rights of first refusal

in most projects, FERC has demurred.

    Congress has not responded to the FERC’s recognition of these state rights-of-first-refusal

like SB 1938 by amending the Federal Power Act. The dormant Commerce Clause prohibits

“discriminatory state legislation” in the face of congressional silence, but “Congress has not

been silent about electricity.” Elec. Power Supply Ass’n, v. Star, 904 F.3d 518, 525 (7th Cir. 2018).

Because state authority over transmission lines has been reserved in the Federal Power Act,

there is no conflict preemption here—yet the Statement, like NextEra’s briefing, essentially

argues that the dormant Commerce Clause may be used to the same end.

    Though the Antitrust Division’s Statement extolls what it views as the virtues of the Order

1000 approach, FERC itself has taken a different view of late regarding the value of

competitive processes in transmission development. The Antitrust Division says it has an

interest in this case because of its “interest in preserving and promoting competition in

interstate commerce,” and contends that S.B. 1938 jeopardizes the benefits from Order 1000’s

introduction of competition in transmission construction. 3 But the problems with Order

1000’s approach, in practice, are common knowledge. These difficulties are acknowledged




2
  The Statement admits there are numerous exemptions to Order 1000’s competitive
processes. Statement at 6 n.10.
3
  Statement at 1, 4.
                                                                                                   3
      Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 5 of 13



throughout the electric industry, with even FERC Chair Neil Chatterjee recently stating

“[e]veryone seems to agree that Order 1000 is not working as intended.” 4 There is a view that

FERC Order 1000 has incentivized the wrong kind of transmission buildout, has resulted in

very few competitively bid projects, and has introduced a costly and time-consuming step into

transmission planning that typically results in the incumbent provider being chosen anyway.

Instead of encouraging transmission development and creating a robust bidding system for

construction of transmission lines, Order 1000 has resulted in regional transmission

organizations and utilities working to plan their transmission projects so that they will be

exempted from the competitive process. 5

    In practice, Order 1000 has failed to promote competition in transmission construction.

In the years since Order 1000 was issued, very few projects have been selected through

competitive bidding. The Southwest Power Pool (“SPP”) has engaged in just one competitive

bidding process for a transmission project, and the Midcontinent Independent System

Operator (“MISO”) has engaged in only two. 6 When the competitive process is utilized, it is



4
  Herman K. Trabish, With new transmission urgently needed, FERC Chair hints at a new Order 1000
proceeding, UTILITY DIVE (May 31, 2019), https://www.utilitydive.com/news/with-new-
transmission-urgently-needed-ferc-chair-hints-at-a-new-order-1000/555586/
5
  FERC Commissioner Richard Glick recently explained this when he stated “right now
[utilities] are convincing their regional transmission organizations that it’s better to invest in
the shorter lines to address reliability as opposed to longer lines because they’re worried
about losing those longer lines to competitive transmission developers.” Kelly Andrejasich,
Pointing to ‘perverse incentive’ under Order 1000, FERC’s Glick calls for changes, S&P GLOBAL, (Oct.
11, 2019) https://www.spglobal.com/platts/en/market-insights/latest-news/electric-
power/101119-pointing-to-perverse-incentive-under-order-1000-fercs-glick-calls-for-
changes. As a result of these “perverse incentives,” the transmission system suffers because
projects are chosen for their ability to avoid Order 1000 instead of for cost or efficiency.
Commissioner Glick mentioned “getting rid of competition” as one possible solution to the
problems created by FERC Order 1000. Id.
6
  Tom Tiernan, SPP selects Mid-Kansas co-op to build Walkemeyer project, lowers reserve margin,
TRANSMISSION HUB (April 27, 2016),
https://www.transmissionhub.com/articles/2016/04/spp-selects-mid-kansas-co-op-to-
build-walkemeyer-project-lowers-reserve-margin.html; MISO to Review 12 Proposals for
                                                                                                  4
     Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 6 of 13



often viewed as both costly and time-consuming. 7 Regional transmission organizations

attempting to comply with Order 1000 often have gone through a lengthy and expensive

process, only to award the project to the incumbent. The Department of Energy found in its

2018 Transmission Data Review that “[f]or all of the transmission planning regions that had

competitive proposal windows, the percentage of selected proposals submitted by

nonincumbent transmission developers declined from twenty percent in 2013, to six percent

in 2014, to three percent in 2015, and to zero in 2016.” 8

    III.    The dormant Commerce Clause does not require Texas to adopt a
            particular approach to ensuring reliable transmission service.

    Regardless of the relative respective merits of the Order 1000 and Texas’s approach, the

United States Constitution does not mandate the Antitrust Division’s preferred policy—and

what the Constitution requires is the actual issue this case presents. As Texas explained in

prior briefing, the dormant Commerce Clause does not “constitutionalize” any particular form

of state utility regulation. Motion at 6; Reply at 1. And as the United States Supreme Court

noted in Tracy, a state may opt to eliminate competition entirely. Tracy, 519 U.S. at 306. That



Hartburg-Sabine Transmission Project, MISO (August 31, 2018),
https://www.misoenergy.org/about/media-center/miso-to-review-12-proposals-for-
hartburg-sabine-transmission-project/.
7
  The SPP reported the internal costs of its sole competitive process to be $522,196. SPP,
CTPTF Transmission Owner Selection Process Update, Presented to Strategic Planning
Committee, July 7, 2016, p. 33. Available at:
https://www.spp.org/documents/39274/spc%20ed%20session%20materials%2020160707.
pdf. It took SPP roughly a year to select the entity to build the line counting from the day
SPP published its Request for Proposals. SPP, CTPTF Transmission Owner Selection
Process Update, Presented to Strategic Planning Committee, July 7, 2016, p. 29-31. Available
at:
https://www.spp.org/documents/39274/spc%20ed%20session%20materials%2020160707.
pdf .
8
  US DEPT. OF ENERGY, ANNUAL U.S. TRANSMISSION DATA REVIEW at 77 (March 2018)
available at
https://www.energy.gov/sites/prod/files/2018/03/f49/2018%20Transmission%20Data%
20Review%20FINAL.pdfl
                                                                                             5
      Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 7 of 13



is what Texas has long done with the provision of transmission service by its PUCT-regulated

utilities. Texas has enacted a “comprehensive and adequate regulatory system for electric

utilities,” to protect the public interest in utility rates and services. Tex. Util. Code § 31.001(a).

The PUCT authorizes the lines, decides where they are built, and sets the rates that the PUCT-

certificated transmission providers (transmission-and-distribution utilities that deliver

electricity, and vertically integrated utilities that generate, deliver and sell it) receive for their

services. 9 Motion at 3-5; Reply at 1-2. These utilities are subject to mandatory service

obligations in their certificated areas under Texas law. SB 1938 simply codified the long-

standing general practice in Texas that the existing endpoint owners build out their facilities.

    The Statement incorrectly states here that SB 1938 changed the status quo in Texas. It did

not. Indeed, there are no transmission-only providers at all in the part of the state outside

ERCOT. Within ERCOT, only a handful of transmission-only providers operate a small

percentage of the total miles of transmission lines. Motion at 4 n.10. These few transmission-

only Competitive Renewable Energy Zone (“CREZ”) providers are the result of an

extraordinary mandate by the Texas Legislature more than a decade ago to promote the

development of the needed infrastructure to bring wind power from West Texas to population

centers in the Eastern part of the state. Motion at 12 n.21; Reply at 2 n.1. 10




9
   As explained in Texas’s Motion, under the FERC’s bundled rate doctrine, the amount paid
for transmission services in parts of the state outside ERCOT are set by the Commission as
part of the integrated utilities’ bundled rates. Motion at 14. And as the ERCOT grid itself
is not connected to the interstate grid, the PUCT sets transmission rates in ERCOT. Thus,
the Statement’s representations about Order 1000 regional cost allocation are a red herring.
10
   The PUCT declaratory order that the Statement cites as recognizing the certification of
transmission-only utilities throughout Texas, Statement at 2, was challenged in court. But
that appeal was dismissed as moot in light of the passage of SB 1938. See Motion at 10 n.18.
                                                                                                    6
      Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 8 of 13



    IV.       SB 1938 does not facially discriminate against out-of-state entities.

    Like NextEra, the Statement argues that because new providers under SB 1938 must have

a physical presence in Texas, the statute purportedly discriminates in favor of these “in-state”

entities and against “out-of-state” entities. This overlooks the obvious fact that what is at issue

in this case is the construction of transmission lines in Texas, that will transmit electricity within

Texas. The existing providers with transmission lines in Texas are, necessarily under this

definition, “in-state” because their facilities are in the state. So too will all new lines be built

by “in-state” companies. Thus, by this logic, these new lines can never be constructed by “out-

of-state” companies. Thus, discrimination against out-of-state entities is necessarily

impossible.

    SB 1938 simply does not preclude out-of-state interests from building and operating

transmission facilities in Texas. This is self-evident from the judicially noticeable fact—that

neither the Statement nor NextEra itself in its briefing has denied—that most SB 1938 rights-

of-first-refusal at issue are actually held by out-of-state controlled interests. Motion at 11-15;

Reply at 5-8. (Indeed, NextEra subsidiary Lone Star Transmission itself has a right of first

refusal under SB 1938.) The Statement’s response here is to assert that what matters for this

analysis is the requirement for a physical presence in a state. But these transmission lines must

be built in Texas, to provide transmission service in Texas.

    Finally, and significantly here, SB 1938 does not preclude new out-of-state interests from

entering the Texas market for transmission services as the Statement urges. Section 7 of SB

1938 specifically allows the incumbent providers to “sell, assign, or lease a certificate or a right

obtained under a certificate” to an entity that has not been previously certificated, with PUCT

approval, if the transaction will not diminish the retail rate jurisdiction of the state. Tex. Util.




                                                                                                    7
        Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 9 of 13



Code § 37.154(a). Rather than excluding out-of-state interests, Section 7 of SB 1938 expressly

provides them a route to enter the Texas market.

      V.      General Motors v. Tracy forecloses NextEra’s claim, and the existing
              transmission-and-distribution providers with a right of first refusal under
              SB 1938 are not similarly situated to the potential new-entrant transmission-
              only providers.

      In arguing that General Motors v. Tracy 11 does not foreclose plaintiffs’ claim, the Statement

assumes away a core concern underlying Tracy—the impacts upon a captive regulated market.

This is a key to why SB 1938 does not present a dormant Commerce Clause issue. The same

concern is found here. Throughout Texas, transmission service and the construction of new

transmission lines is provided by transmission-and-distribution utilities and (outside ERCOT)

vertically integrated utilities with significant regulatory obligations and a mandatory obligation

to deliver electricity to end customers. Thus, they are akin to the local gas utilities involved in

Tracy; the Supreme Court’s concern about the impacts upon those utilities with service

obligations to captive customers was a basis of its determination that the dormant Commerce

Clause did not bar the differential tax treatment of these utilities and other types of gas

providers. Tracy, 519 U.S. at 304-06. Here, the Statement’s response to Tracy wrongly asserts

that a captive market is not involved here. As just explained, this is incorrect. Thus, Tracy

does control.

      Existing transmission providers and would-be new-entrant transmission-only providers

like NextEra are not similarly situated to the existing transmission providers in Texas, as the

Statement contends. As in Tracy, there are significant differences between potential new

transmission-only providers and the incumbent utilities that have the preferential right to build

new lines in Texas. Outside ERCOT, investor-owned utilities provide “fully-bundled” service



11
     519 U.S. 278 (1997).
                                                                                                  8
     Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 10 of 13



to captive end-use customers, just like the favored local gas distribution companies involved

in Tracy. Transmission-only providers would not sell or deliver electricity to end consumers,

and/or have mandatory distribution service obligations. See Compl. ¶¶ 28, 41, 103. By contrast,

the incumbent vertically integrated utilities in Texas, like the local gas utilities involved in Tracy,

are subject to pervasive state regulation over their retail rates and services, Tex. Util. Code

§§ 11.001, 36.051, & 38.002, and have an obligation to serve “every consumer in the utility’s

certificated area” and “provide continuous and adequate service in that area.” Tex. Util. Code

§ 37.151. The situation is effectively the same within ERCOT, where most transmission lines

are owned and operated by regulated transmission-and-distribution utilities that have

significant regulatory obligations. Any differential treatment of these different types of entities

is not discrimination, as the existing providers and the potential transmission-only new

entrants are not substantially similar. See Tracy, 519 U.S. at 298 (“any notion of discrimination

assumes a comparison of substantially similar entities”). The distinction that SB 1938 draws is

based upon business form, one that the Fifth Circuit has long held does not violate the

dormant Commerce Clause. Motion at 11; Reply at 2.

    On this issue, the Statement says that “[l]ocal and nonlocal transmission development

companies are similarly situated,” Statement at 9, but offers little actual explanation other than

the simple assertion that “nonlocal” companies could build the lines. It includes no discussion

of the significant differences between transmission-and-distribution providers now serving

Texas and would-be new transmission-only providers.

    VI.     Other cases the Statement cites do not show that plaintiffs have pleaded a
            dormant Commerce Clause claim.

    SB 1938 is not analogous to the legislative enactments at issue in the “flow-control”

dormant Commerce Clause cases that the Statement cites. Statement at 12-13. Unlike SB 1938,

the laws at issue in the cited cases imposed restrictions on the flow of goods in interstate
                                                                                                     9
     Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 11 of 13



commerce or burdensome requirements as a precondition for allowing the flow of goods in

interstate commerce. As Texas’s prior briefing has discussed, SB 1938 does neither of these.

Reply at 7-8. It only regulates the construction and operation of new transmission facilities

that will be located wholly within Texas. This is not a matter of economic protectionism but

necessity and physical reality. This simple fact distinguishes SB 1938 from these cases.

    Finally, a plaintiff’s burden under the Pike test—that the law’s burden on interstate

commerce is “clearly excessive” relative to the putative local benefits—is seldom met. Pike v.

Bruce Church, Inc., 397 U.S. 137, 142 (1970). Courts routinely dismiss Pike claims once they have

found, as is the case here, that there is no discrimination. See, e.g., Elec. Power Supply, 904 F.3d

at 524-25; Allco Fin., Ltd. v. Klee, 861 F.3d 82, 103-08 (2d Cir. 2017). As Texas explained in its

prior briefing, SB 1938 does not discriminate against out-of-state providers on its face. Motion

at 10-11; Reply at 5-8. And the State’s interest in assuring reliable electric service is

overwhelming. In this context, the Statement asserts that statutes requiring business

operations be performed in the home state that could more efficiently be performed elsewhere

are viewed with suspicion. Statement at 14. But that is exactly the point—these transmission

lines must be built in Texas, to provide transmission service in Texas.

    VII.    Conclusion

    The Statement does not demonstrate that the NextEra plaintiffs have pleaded a dormant

Commerce Clause claim regarding SB 1938. NextEra’s Complaint should be dismissed.

                                                 Respectfully submitted,

                                                 KEN PAXTON
                                                 Attorney General of Texas

                                                 JEFFREY C. MATEER
                                                 First Assistant Attorney General

                                                 DARREN L. MCCARTY
                                                 Deputy Attorney General for Civil Litigation
                                                                                                 10
Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 12 of 13




                               PRISCILLA HUBENAK
                               Chief for Environmental Protection Division

                               /s/ John R. Hulme
                               JOHN R. HULME
                               Texas Bar No. 10258400
                               Attorney-in-Charge
                               Assistant Attorney General
                               john.hulme@oag.texas.gov

                               H. CARL MYERS
                               Texas Bar No. 24046502
                               Assistant Attorney General
                               carl.myers@oag.texas.gov

                               JESSICA SOOS
                               Texas Bar No. 24093183
                               Assistant Attorney General
                               jessica.soos@oag.texas.gov

                               Office of the Attorney General
                               Environmental Protection Division
                               P.O. Box 12548, Capitol Station
                               Austin, Texas 78711-2548
                               (512) 475-4229 | FAX: (512) 320-0911

                               COUNSEL FOR DEFENDANTS




                                                                        11
     Case 1:19-cv-00626-LY Document 122 Filed 11/12/19 Page 13 of 13



                                CERTIFICATE OF SERVICE
         I hereby certify that on November 12, 2019, a true and correct copy of the foregoing
document was served via the Court’s CM/ECF system to all counsel of record and via email
to the following individuals who have provided their written consent in accordance with FRCP
5(b)(2)(E) to receive service by electronic means:

Mark A. Walker
XCEL ENERGY SERVICES, INC.
816 Congress Avenue, Suite 1650
Austin, Texas 78701
mark.a.walker@xcelenergy.com

Winston Patrick Michael Skinner
VINSON & ELKINS, LLP
2001 Ross Avenue, Suite 3900
Dallas, Texas 75201
wskinner@velaw.com

Jacob Lawler
HOLLAND & KNIGHT
2001 Ross Avenue, Suite 3900
Dallas, TX 75201
jacob.lawler@hklaw.com



                                              /s/ John R. Hulme
                                              JOHN R. HULME
                                              Assistant Attorney General




                                                                                          12
